
8 N.Y.2d 737 (1960)
In the Matter of Emanuel J. Payton, Appellant,
v.
New York City Transit Authority, Respondent.
Court of Appeals of the State of New York.
Argued April 1, 1960.
Decided April 21, 1960.
Lawrence R. Bailey for appellant.
Edward W. Summers, Daniel T. Scannell and Helen R. Cassidy for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, FROESSEL, VAN VOORHIS, BURKE and FOSTER.
Order affirmed, without costs. The determination by the New York City Transit Authority is supported by substantial evidence. Insofar as the disciplinary action taken is claimed to have been excessive, power to review is conferred upon appellate courts by subdivision 5-a of section 1296 of the Civil Practice Act. We hold, however, that the discretion of the Authority was not abused in imposing the measure of discipline involved. No opinion.
